                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                           CASE NO. 5:09CR25-RLV-DCK


UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )        ORDER GRANTING ADMISSION
                                            )              PRO HAC VICE
JAVIER CAMPOS MONTE,                        )
                                            )
       Defendant                            )


       THIS MATTER IS BEFORE THE COURT on the “Application For Admission To

Practice Pro Hac Vice” (Document No. 97) filed February 24, 2010.

       For good cause shown, the Motion is hereby GRANTED, and Larry David Wolfe is

admitted pro hac vice to represent the Defendant in this matter.

       SO ORDERED.




                                                Signed: February 24, 2010




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